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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

   American Foreign Service Association, et
   al.,

   Plaintiffs,

   v.

   President Donald J. Trump, et al.,
                                                   Case No. 1:25-cv-00352
   Defendants.




 MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFFS’
        MOTION FOR LEAVE TO SUPPLEMENT THE RECORD

        Plaintiffs filed this litigation on February 6, 2025, ECF No. 1, just days after President

Donald Trump and his administration began to systemically dismantle the United States Agency

for International Development (USAID), generating a global humanitarian crisis, costing

thousands of jobs, imperiling national security interests, and harming Plaintiffs and their members.

Given the extraordinary nature and speed of this dismantling, Plaintiffs moved for a temporary

restraining order (TRO) on February 7, 2025, to preserve the status quo. ECF No. 9. The Court

ordered a hearing that same day and granted, in part, Plaintiffs’ motion. ECF No. 15. In its order,

the Court ordered the parties to treat the opposition and reply briefing on the TRO as preliminary

injunction briefing and scheduled a preliminary injunction hearing for Wednesday, February 12,

2025. See id. at 7. Plaintiffs now seek leave to file additional declarations along with their reply

brief to support their motion for preliminary relief.

        Additional declarations will further demonstrate the imminent, irreparable harm Plaintiffs

and their members will experience without injunctive relief. To obtain a preliminary injunction

against the government, Plaintiffs must establish that they are likely to succeed on the merits of
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their claims and suffer irreparable harm in the absence of preliminary relief and that the balance

of equities and the public interest weigh in their favor. See Winter v. Natural Res. Def. Council,

Inc., 555 U.S. 7, 20 (2008); Nken v. Holder, 556 U.S. 418, 435 (2009). Plaintiffs satisfy these

requirements with their initial papers. But the facts on the ground continue to develop in a rapidly

changing environment—and to come to the surface—even as this Court’s order partially granting

Plaintiffs’ motion for a temporary restraining order remains in place. These supplemental

declarations will aid the Court in confirming that Plaintiffs meet all requirements needed for this

Court to afford them preliminary relief. This Court has the “discretion to allow parties to

supplement the record of a case.” Marsh v. Johnson, 263 F. Supp. 2d 49, 53 (D.D.C. 2003) (citation

omitted). Use of that discretion is warranted here, given the speed of briefing and rapidly

developing circumstances.

       The declarations will also confirm Plaintiffs’ standing. To obtain a preliminary injunction,

plaintiffs must demonstrate “a substantial likelihood” of success on standing. Food & Water

Watch, Inc. v. Vilsack, 800 F.3d 905, 913 (D.C. Cir. 2015) (internal quotation marks omitted). To

establish associational standing, an organization must demonstrate that “(a) its members would

otherwise have standing to sue in their own right; (b) the interests it seeks to protect are germane to

the organization’s purpose; and (c) neither the claim asserted nor the relief requested requires the

participation of individual members in the lawsuit.” Metro. Washington Chapter, Associated

Builders & Contractors, Inc. v. D.C., 62 F.4th 567, 572 (D.C. Cir. 2023) (citations omitted). And

to establish standing in its own right, an organization must allege “a concrete and demonstrable

injury to the organization’s activities that is more than simply a setback to the organization's

abstract social interests.” Am. Anti-Vivisection Soc’y v. United States Dep’t of Agric., 946 F.3d

615, 618 (D.C. Cir. 2020) (internal quotation marks and citation omitted). Plaintiffs have made the

requisite showings as to both associational and organizational standing in their TRO motion and
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accompanying declarations. Nonetheless, to eliminate any potential concern on this point,

Plaintiffs request that the Court permit them to supplement the record with declarations that

confirm each Plaintiff has at least one member impacted by the decimation of USAID, which will

assure the Court of Plaintiffs’ standing.

                                            CONCLUSION

          For the foregoing reasons, the Court should grant Plaintiffs' motion to supplement the

record.

 Dated: February 11, 2025                     Respectfully submitted,

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